Case 2:19-bk-14989-WB      Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37         Desc
                            Main Document    Page 1 of 26


 1    STEVEN M. SPECTOR (SBN: 51623)
         sspector@buchalter.com
 2    ANTHONY J. NAPOLITANO (SBN: 227691)
         anapolitano@buchalter.com
 3    BUCHALTER, A Professional Corporation
      1000 Wilshire Boulevard, Suite 1500
 4    Los Angeles, CA 90017-2457
      Telephone: (213) 891-0700
 5    Facsimile:: (213) 896-0400
 6    ADAM H. FRIEDMAN (pro hac vice to be filed)
         afriedman@olshanlaw.com
 7    OLSHAN FROME WOLOSKY LLP
      1325 Avenue of the Americas
 8    New York, NY 10019
      Telephone: (212) 451-2216
 9    Facsimile: (212) 451-2222
10    Attorneys for secured creditor
      HILLAIR CAPITAL MANAGEMENT, LLC
11
                            UNITED STATES BANKRUPTCY COURT
12
                              CENTRAL DISTRICT OF CALIFORNIA
13
                                     LOS ANGELES DIVISION
14
     In re                                   Lead Case No. 2:19-bk-14989-WB
15
     SCOOBEEZ, INC., et al.                  Chapter 11
16
                       Debtors and Debtors   (Jointly Administered with
17                     in Possession.        Case Nos. 2:19-bk-14991; 2:19-bk-14997)
18
     Affects:                                HILLAIR CAPITAL MANAGEMENT, LLC’S
19                                           LIMITED OMNIBUS OPPOSITION TO THE
             All Debtors                     DEBTORS’ NOTICES OF SETTING INSIDER
20                                           COMPENSATION OF GEORGE VOSKANIAN,
             SCOOBEEZ, INC., only            SCOTT SHEIKH AND JOWITA
21
             SCOOBEEZ GLOBAL, INC.           CHOMENTOWSKA
22           only
                                             Hearing:
23           SCOOBUR, LLC only               Date:         June 6, 2019
                                             Time:         10:00 a.m.
24                                           Place:        U.S. Bankruptcy Court
                                                           Courtroom 1375
25                                                         255 East Temple Street
26                                                         Los Angeles, CA 90012

27

28



     BN 36596621V1
Case 2:19-bk-14989-WB           Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                            Desc
                                 Main Document    Page 2 of 26


 1   TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
 2   THE DEBTORS, THEIR COUNSEL AND ALL PARTIES IN INTEREST:
 3            Hillair Capital Management LLC and its affiliates (collectively, “Hillair”), senior secured
 4   creditor of Scoobeez, Inc., a California corporation, debtor in the above-captioned chapter 11
 5   bankruptcy case (“Scoobeez”), and its affiliated debtors, Scoobeez Global, Inc., an Idaho
 6   corporation (formerly known as ABT Holdings, Inc.) (“Scoobeez Global”) and Scoobur, LLC, a
 7   California limited liability company (“Scoobur”) (collectively, the “Debtors”), respectfully
 8   submits this limited omnibus opposition to the Debtors’ (1) Notice of Setting / Increasing Insider
 9   Compensation of George Voskanian; (2) Notice of Setting / Increasing Insider Compensation of
10   Scott Sheikh; and (3) Notice of Setting / Increasing Insider Compensation of Jowita Chometowska
11   (collectively, the “Notices”) as follows.
12            1.       The Notices of George Voskanian, Scott Sheikh and Jowita Chometowska are
13   attached hereto as Exhibits 1, 2 and 3, respectively, along with their respective proofs of service.
14   The Notices were served on Hillair via mail on May 13, 2019. Local Bankruptcy Rule 2014-1(a)
15   addresses the setting of compensation of insiders and requires that no compensation may be paid
16   from the assets of the estate from the time of the filing of the petition until the confirmation of the
17   plan unless the debtor serves its “Notice of Setting/Increasing Insider Compensation.” L. BANKR.
18   R. 2014-1(a)(1).1
19            2.       The local rules further provide that if an objection is timely received within the 14-
20   day period following the service of the Notice then the debtor may not pay such compensation

21   and the debtor must set the matter for hearing. L. BANKR. R. 2014-1(a)(3) and (a)(4). Similarly,

22   the U.S. Trustee’s guidelines provides that “[n]o compensation may be paid out to any insiders
23   until 15 days after service of such notice, and no objection to the Notice of Setting / Increasing
24   Compensation has been received or filed with the court.” See Guidelines and Requirements for
25   Chapter 11 Debtors in Possession (Central Division), Office of the United States Trustee (Region
26   16), p. 6 at Part IV.B.3. (rev. Oct. 1, 2014).
27   1
        The 14th day from the date of service fell on a legal holiday, Memorial Day; accordingly, the time to respond is
     extended by a day. FED. R. BANKR. P. 9006(a)(1)(C), (a)(6). Further, since service was by mail, the time to respond
28   is extended by three days. FED. R. BANKR. P. 9006(f). In either event, Hillair timely submits this limited opposition.
                                                               1
      HILLAIR CAPITAL MANAGEMENT, LLC’S LIMITED OMNIBUS OPPOSITION TO THE DEBTORS’ NOTICES OF SETTING
              INSIDER COMPENSATION OF GEORGE VOSKANIAN, SCOTT SHEIKH AND JOWITA CHOMENTOWSKA
     BN 36596621V1
Case 2:19-bk-14989-WB       Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                  Desc
                             Main Document    Page 3 of 26


 1          3.      Limited Objection to All Notices: Box 14 of the Notices requires the applicant
 2   to “[i]dentify any creditor who asserts a security interest . . . in the receipts generated by the
 3   operation of the Debtors’ business and the amount of its claim.” The Debtors did not do this for
 4   any of the Notices. Box 15 of the Notices requires the applicant to “[s]pecify all compensation,
 5   perquisites, loans, benefits, etc. received by the insider” for the preceeding twelve-month period
 6   and to “[a]ttach W-2, 1099, Individual Payroll ards and other related forms).” The Debtors did
 7   not do this for any of the Notices. Finally, the instructions state that “[i]f this notice pertains to
 8   setting compensation, it must be filed and served fifteen days before any payout of compensation
 9   . . . .” Notices, p. 2 (emphsasis added). The Debtors did not file these Notices on the docket.
10   They were merely served. Lastly, Hillair has not yet seen a final draft of the Debtors’ proposed
11   13-week budget for the period beyond the June 6, 2019 cash collateral hearing date. Acordingly,
12   Hillair has no ability to determine whether there is sufficient cash flow to pay the insiders their
13   proposed salaries and whether such salaries are warranted.           Hillair reserves all rights to
14   supplement this objection pending the disclosure of the proposed 13-week budget.
15          4.      Limited Objection to George Voskanian’s Notice: In addition to the objections
16   set forth in Paragraph 3, Hillair raises the following objections. The Debtors disclose that Mr.
17   Voskanian was paid $142,500.00 for the twelve-month period preceeding the Debtors’ April 30,
18   2019 petition date (the “Petition Date”). The Debtors’ now seek to pay Mr. Voskanian $25,000
19   per month (i.e., $300,000 per year). Yet, the Debtors do not demonstrate, substantiate or justify
20   the increase in compensation. Further, it has been alleged that Mr. Voskanian serves as the Chief

21   Financial Officer of a company called “Serve.io,” which is owned and operated by the Debtors’

22   principal, Shahan Ohanessian. See Docket No. 46, Ex. 5 at p. 44. Hillair submits that the Debtors

23   should require Mr. Voskanian to resign from his positions at Serve.io in order to alleviate any

24   concerns over conflicts, divided loyalties, and available time to focus entirely on the

25   reorganization efforts of the Debtors.

26          5.      Limited Objection to Scott Sheikh’s Notice: In addition to the objections set

27   forth in Paragraph 3, Hillair raises the following objections. The Debtors disclose that they intend

28   to pay $25,000 per month (i.e., $300,000 per year) to Mr. Shiekh to manage the legal functions of
                                                    2
      HILLAIR CAPITAL MANAGEMENT, LLC’S LIMITED OMNIBUS OPPOSITION TO THE DEBTORS’ NOTICES OF SETTING
              INSIDER COMPENSATION OF GEORGE VOSKANIAN, SCOTT SHEIKH AND JOWITA CHOMENTOWSKA
     BN 36596621V1
Case 2:19-bk-14989-WB       Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                 Desc
                             Main Document    Page 4 of 26


 1   the Debtors. The Debtors omit any disclosures of the compensation paid to Mr. Sheikh for the
 2   preceeding twelve-month period. There is no justification or substantiation for the work to be
 3   performed by Mr. Sheikh. Moreover, Hillair believes that Mr. Shiekh served as a legal advisor to
 4   the Debtors’ pre-petition and querries whether Mr. Shiekh’s employment more properly falls
 5   under section 327/328 of the Bankruptcy Code. Finally, it also has been alleged that Mr. Shiekh
 6   serves as the Chief Legal Officer of a company called “Serve.io,” which is owned and operated
 7   by the Debtors’ principal, Shahan Ohanessian. See Docket No. 46, Ex. 5 at p. 44. Hillair submits
 8   that the Debtors should require Mr. Voskanian to resign from his positions at Serve.io in order to
 9   alleviate any concerns over conflicts, divided loyalties, and available time to focus entirely on the
10   reorganization efforts of the Debtors.
11          6.      Limited Objection to Joweta Chometowska’s Notice:                In addition to the
12   objections set forth in Paragraph 3, Hillair raises the following objections.        In light of the
13   disclosures made by the Debtors in their supplemental declarations respecting the Application to
14   Appoint Brian Weiss as the Chief Restructuring Officer, it seems that Mr. Chometowska is no
15   longer a member of the Board of Directors of any of the Debtors. Accordingly, the Debtors
16   should withdraw this Notice.
17          7.      Hearing on Notices. In accordance with Local Bankruptcy Rule 2014-1(a) and
18   the U.S. Trustee guidelines, Hillair hereby objects to the payment of insider compensation to Mr.
19   Voskanian, Mr. Shiekh and Mr. Chowmetowska. While the Local Bankruptcy Rules require that
20   the Debtors not serve less than 21 days’ notice of the date and time of the hearing on the

21   objection, Hillair is amenable to having the matter heard on shortened time at the June 6, 2019

22   cash collateral hearing assuming that the Debtors make the appriopriate disclosures respecting the

23   Notices and the proposed 13-week budget.

24   DATED: May 28, 2019                                  BUCHALTER, a Professional Corporation
25                                                        By     /s/ Anthony J. Napolitano
                                                                 STEVEN M. SPECTOR
26                                                               ANTHONY J. NAPOLITANO
                                                          Attorneys for secured creditor
27                                                        HILLAIR CAPITAL MANAGEMENT, LLC
28
                                                      3
      HILLAIR CAPITAL MANAGEMENT, LLC’S LIMITED OMNIBUS OPPOSITION TO THE DEBTORS’ NOTICES OF SETTING
              INSIDER COMPENSATION OF GEORGE VOSKANIAN, SCOTT SHEIKH AND JOWITA CHOMENTOWSKA
     BN 36596621V1
Case 2:19-bk-14989-WB   Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37       Desc
                         Main Document    Page 5 of 26




                               EXHIBIT 1




                                                                Exhibit 1, Page 000004
       Case 2:19-bk-14989-WB                 Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                Desc
                                              Main Document    Page 6 of 26

    Attomey Name, Address, Tclephone and   FAX                                              File with U.S. TRUSTEE Only

       Ashley M. McDow (245'114)
       FOLEY & LARDNER LLP
       555 S. Flower St., 33rd Floor
       Los Angeles,     CA   90071
       Telephone:         213.972.4500
       Facsimile:         213.486.0065
       Email: amcdow@foley.com

                         UNITED STATES BANKRUPTCY COI]RT
                          CENTRAL DISTRICT OF CALIFORNIA

   ln re:
                                                                                            Chapter   ll   CaseNumber
   Scoobeez, et al.
                                                                                            LEAD CASE NO.: 2:19-bk-14989
                                                                                Debtor(s)


   NOTICE OF SETTINGIINCREASING INSIDER COMPENSATION



  l.   Name of Insider:
                                                        George Voskanian


  2. Relationship to Debtor (i.e. owner, partner,
  offi cer, director, shareholder).                     Officer


  3. Date when relationship with Debtor
  commenced:


  4. Position title:
                                                        Co-Chief Executive Officer and Chief Financial Officer

 5. Position Description:
                                                        Senior executive responsible for managing the financial actions of the company.


 6. Assigned Duties                                    Making major company decisions and tracking cash flow and financial
                                                       planning as well as analyzing the company's financial strengths and
                                                       weaknesses

 7. Date employed in current position                   Ivly20;77

 8. If previously employed by Debtor within
 past two years in a different position, state          N/A
 position(s) and date(s).

 9. Number of hours worked per week:                   60-80

 10. Total amount of compensation and payment          $25,000 per month
 interval:




Revised February 2002                            INSIDER COMPENSATION (Paee I of 2)                                              USTLA.I2



                                                                                                              Exhibit 1, Page 000005
     Case 2:19-bk-14989-WB                       Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                             Desc
                                                  Main Document    Page 7 of 26

   I I . Breakdown of compensation (specifu
   amount and payment interval.

                                                  Salary:     $25,000 per month

                        Perquisites (total, detail below):

                                         Car Allowance

                                     Medical Insurance:

                                         Life Insurance:

                                    Business Expenses:

                                        Other (Specify)


  12. Identi$ the source of the funds to be used              Company's general operating account
  to pay compensations specified in No. I0:
  13. Date and amount of last increase in                    N/A
  compensation:

   I 4. Identify any creditor who asserts a securify
  interest (whether or not Debtor disputes the
  validity thereof) in the receipts generated by the
  operation ofthe Debtor's business and the
  amount of its claim:

   I 5. Specifu all compensation, perquisites,
                                                              $142,500.00
  loans, benefits etc. received by insider from the
  Debtor during the twelve month period
  immediately preceding the filing of the Chapter
 I I Petition (Attach W-2, l0gg,Individual
 Payroll Cards and other related forms):

                                         Compensation:        $142,500.00

                                                 Loans:

                                 Perquisites (Specifu)



I declare under penalty of perjury that the answers contained in the foregoing Notice are true and correct.

 Dated:
                                                             Co   -&ro
                                                                  aFo
 Print Name and            of Authorized Agent for Debtor                         Signature of Authorized Agent for Debtor


        Attach proof of service on Creditors' Committee or the Twenty Largest Creditors if no committee has been
formed, and to any secured creditors that claim an interest in cash collateral.
        If this notice pertains to setting compensation, it must be filed and served fifteen days before any pay out of
compensation, although compensation may be accrued during this period.
       If this notice pertains to an increase in compensation, it must be filed and served thirty days before the date when
the           increase takes effect.




Revised February 2002                             INSIDER COMPENSATION (Pase 2 of 2\                                              USTLA-I2


                                                                                                               Exhibit 1, Page 000006
         Case 2:19-bk-14989-WB                   Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                                  Main Document    Page 8 of 26


                                            PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
 811 WILSHIRE BLVD., STE 9OO, LOS ANGELES, CA 90017

 A true and correct copy of the foregoing document entitled (specify):

 NOTICE OF SETTING / INCREASING INSIDER COMPENSATION (George Voskanian)

 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
 the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, th e foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
                     I checked the GM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
 below:




                                                                                         n    Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL.
 On (dafe) MAY 13,2019,1 served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Hillair Capital Management LLC                                                 Anthony J Napolitano
330 Primrose Road Suite 660                                                    Buchalter, A Professional Corporation
Burlingame, CA 94010                                                           1000 Wilshire Blvd, Ste# 1500
                                                                               Los Angeles, CA 90017-2457


                                                                                        I    Service information continued on attached page

3. SERVED BY P            NAL DELIVERY. OVERNIGHT MAI L, FACSIMILE TRANSMISSION OR E                               method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                       I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                        n    Service information continued on attached page



                                                                                                ej;
I declare under penalty of perjury under the laws of the United States that the foreqoino is true and correct.

 MAY 13        2419         ELIAS DE DIOS
 Date                            Printed Name                                                    Signature


            This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 901 3-3.1.PROOF.SERVTCE
                                                                                                                Exhibit 1, Page 000007
       Case 2:19-bk-14989-WB                     Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                                  Main Document    Page 9 of 26



                                              Continued Serryice by U.S. Mail List is Below

 Premier Business Bank                                                          Corporation Service Company,
 700 S. Flower Street, #2000                                                    as Representative
 Los Angeles, CA 90017                                                          P.O.Box2576
                                                                                Springfield,IL 62108

 Corporation Service Company,                                                   CT Corporation System as Representative
 as Representative                                                              330 N. Brand Blvd., Suite 700
 801 Adlai Stevenson Drive                                                     Attn:    SPRS
 Springfield,IL 62703                                                           Glendale, CA91203

 Queen Funding LLC                                                             App Group International, LLC
 222tNE  164 ST                                                                85 Broad Street, lTth Floor
 Miami Beach, FL 33160                                                         New York, NY 10004

 GTR Source LLC                                                                Hop Capital
 1006 Monmouth Ave                                                             323 Sunny Isles Blvd., Suite 501
 Lakewood, NJ 08701                                                            Sunny Isles Beach, FL 33160

 Alissa Guler                                                                  AT&T Corp.
 c/o Albert G. Stoll, Jr.                                                      c/o CT Corporation
 55 Francisco Street, Suite 403                                                818 Seventh Street, Suite 930
 San Francisco, CA 94133                                                       Los Angeles, CA 90017

 AT&T Co.p.                                                                    Avitus,Inc.
c/o CT Corporation                                                             c/o David M.
818 Seventh Street, Suite 930                                                  Wagner, Esq.
Los Angeles, CA 90017                                                          Crowley Fleck, PLLP
                                                                               P.O. Box 10969
                                                                               Bozeman, MT 59719

 Azad Baban                                                                   Bernardo Parra
c/o Justin                                                                    c/o Mancini Law
Silverman, Esq.                                                               Group, P.C.
Reisner & King LLP                                                            7170W. Grand Avenue
14724 Ventura Blvd., Suite 1210                                               Elmwood Park, IL 60707
                                                                                                                                                1

Sherman Oaks, CA 91403

Arturo Vega, et. al.                                                          Edvin Amzayan, clo
c/o Eric K. Yaeckel                                                           State of CA Dept. of Industrial Relations
Sullivan Law Group, APC                                                       Labor Commission Office
2330 Third Ave.                                                               455 Golden Gate Ave., lOth Floor
San Diego, CA92l0l                                                            San Francisco, CA 94102



            This form is mandatory It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 901 3-3.1 Exhibit
                                                                                                                 .PROOF.SERV|CE
                                                                                                                        1, Page 000008
       Case 2:19-bk-14989-WB                     Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                                  Main Document    Page 10 of 26


 Enterprise Holdings,                                                           Hillair Capital
 Inc.                                                                           Management LLC
 600 Corporate Park Drive                                                       330 Primrose Road, Suite 660
 Saint Louis, MO 63105                                                          Burlingame, CA 94010

 Imran Firoz                                                                    Jacob Lee DeGough
 c/o Brent Finch                                                                c/o Glenn Law Firm
 Brent Finch Law                                                                l0l7 William D. Tate Ave. Suite 100
 27200 Agoura Rd., Ste. 102                                                     Grapevine, TX 76051
 Agoura Hills, CA 91301

 Jassim M. Addal                                                               LeClairRyan
 clo Law Office of Arash Alizadeh                                              44 Montgomery Street, Suite 3100
 7545 bvine Center Drive Suite 200                                             San Francisco, CA 94104
 Irvine, CA92618

 Maria Salgado                                                                 Marwan Griffin
 c/o Nicholas J. Tsakas, Esq.                                                  c/o Aegis Law Firm, PC
 4267 Marina City Drive Suite 512                                              98l l Irvine Center Drive Suite 100
 Marina Del Rey, CA90292                                                       Irvine, CA92618

 Minas Sarafian                                                                Mostafa Joharifard
 c/o Simonian & Simonian, PLC                                                  1651 E. Edinger Ave. Suite 100
 144 N. Glendale Ave.,#228                                                     Santa Ana, CA 92105
 Glendale, CA91206

NexGen Capital, LLC                                                            Roy Castelanos
c/o David Neale Levene Neale Bender                                            c/o Employees' Legal Advocates, LLP
10250 Constellation Blvd., #1700                                               811 Wilshire Blvd. Suite 800
Los Angeles, CA 90067                                                          Los Angeles, CA 90017

Avitus,Inc.                                                                    Hillair Capital
c/o David M. Wagner, Esq.                                                      Management LLC
Crowley Fleck, PLLP                                                            330 Primrose Road Suite 660
P.O. Box 10969                                                                 Burlingame, CA 94010
Bozeman, MT 59719



Imran Firoz                                                                    Kirk Davis
c/o Brent Finch                                                               clo Law Offices of
Brent Finch Law                                                               Daniel A. Kaplan
27200 Agoura Rd., Ste. 102                                                    555 W. Beech St., Suite 230
Agoura Hills, CA 91301                                                        San Diego, CA92101




            This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California


June 2012                                                                                           F 901 3-3.1Exhibit
                                                                                                                .PROOF.SERV|CE
                                                                                                                       1, Page 000009
       Case 2:19-bk-14989-WB                     Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                       Desc
                                                  Main Document    Page 11 of 26


  Salvador Rivas                                                                 Scoobeez SD, LLC
  cloLaw Offices of Daniel A. Kaplan                                             c/o Law Offices of Daniel A. Kaplan
  555 W. Beech St., Suite 230                                                    555 W. Beech St., Suite 230
  San Diego, CA9210l                                                             San Diego, CA92101

  Hillair Capital
  Management LLC
  330 Primrose Road Suite 660
  Burlingame, CA 94010




            This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 901 3.3.1 Exhibit
                                                                                                                 .PROOF.SERVIGE
                                                                                                                        1, Page 000010
Case 2:19-bk-14989-WB   Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37       Desc
                         Main Document    Page 12 of 26




                               EXHIBIT 2




                                                                Exhibit 2, Page 000011
      Case 2:19-bk-14989-WB                    Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                               Desc
                                                Main Document    Page 13 of 26

      Attomey Name, Address, Telephone and   FAX                                              File with U.S. TRUSTEE Only

      Ashley M. McDow (245114)
      FOLEY & LARDNER LLP
      555 S. Flower St., 33rd Floor
      Los Angeles,      CA   90071
      Telephone:   213.972.4500
      Facsimile: 213.486.0065
      Email: amcdow@foley.com

                         UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA

   In re:
                                                                                              Chapterll CaseNumber
   Scoobeez, et al
                                                                                              LEAD CASE NO.; 2:19-bk-14989
                                                                                  Debtor(s)


   NOTICE OF SETTING/INCREASING INSIDER COMPENSATION



  1. Name of Insider:
                                                          Scott A. Sheikh


  2. Relationship to Debtor (i.e. owner, partner,
  officer, director, shareholder).                        Officer


  3. Date when relationship with Debtor
  commenced:


  4. Position title:
                                                          Co-Chief Executive Officer and General Counsel

 5. PositionDescription:
                                                          Senior executive responsible for managing the legal functions of the company.

 6.   Assigued Duties:                                    Making major company decisions, managing legal functions, and
                                                          overseeing outside counsel.


 7.   Date employed in current position:                  May 10,2019

 8. If previously employed by Debtor within
 past two years    in
                   a different position, state            N/A
 position(s) and date(s).

 9. Number of hours worked per week:                     40-60

  10. Total amount of compensation and payment           $25,000 per month
 interval:




Revised February 2002                              INSIDER COMPENSATION (Paee I of 2)                                             USTLA-I2



                                                                                                               Exhibit 2, Page 000012
    Case 2:19-bk-14989-WB                    Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                Desc
                                              Main Document    Page 14 of 26

 I I . Breakdown of compensation (speciff
 amount and payment interval.

                                                Salary:   $25,000 per month

                    Perquisites (total, detail below):

                                     Car Allowance:

                                 Medical Insurance:

                                     Life Insurance:

                                 Business Expenses:

                                    Other (Specifu)


 12. Identifu the source of the funds to be used          Company's general operating account
 to pay compensations specified in    No. l0:

 13. Date and amount of last increase in
 compensation:

  14. Identifr any creditor who asserts a security
 interest (whether or not Debtor disputes the
 validity thereof) in the receipts generated by the
 operation ofthe Debtor's business and the
 amount of its claim:

  15. Specif all compensation, perquisites,
 loans, benefits etc. received by insider from the
 Debtor during the twelve month period
 immediately preceding the frling of the Chapter
 I I Petition (Attach W-2, 1099, Individual
 Payroll Cards and other related forms):

                                     Compensation:

                                                Loans

                              Perquisites (Specifr)



I declare under penalty of perjury that the answers contained in the foregoing Notice are true and correct.

Dated                                                     Qo    -Le <t
      Co                     o                c

Print Name and Title of Authorized Agent for                                   Signature of Authorized Agent for Debtor


        Attach proof of service on Creditors' Committee or the Twenty Largest Creditors if no committee has been
formed, and to any secured creditors that claim an interest in cash collateral.
        If this notice pertains to setting compensation, it must be filed and served fifteen days before any pay out of
compensation, although compensation may be accrued during this period.
       If this notice pertains to an increase in compensation, it must be filed and served thirty days before the date when
the proposed increase takes effect.




Revised February 2002                             INSIDER COMPENSATION (Page 2 of 2)                                              USTLA-I2




                                                                                                              Exhibit 2, Page 000013
         Case 2:19-bk-14989-WB                  Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                                 Main Document    Page 15 of 26


                                           PROOF OF SERVIGE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 811 WILSHIRE BLVD., STE 9OO, LOS ANGELES, CA 90017

 A true and correct copy of the foregoing document entitled (specify):

 NOTICE OF SETTING / INCREASING INSIDER COMPENSATION (Scott A. Sheikh)

 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)                            in
 the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
                     I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
 below:




                                                                                        n    Service information continued on attached page

 2. SERVED BY UN           STATES MAIL:
 On (dafe) MAY 13, 2019,1served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Hillair Capital Management LLC                                                Anthony J Napolitano
330 Primrose Road Suite 660                                                   Buchalter, A Professional Corporation
Burlingame, CA 94010                                                          1000 Wilshire Blvd, Ste# 1500
                                                                              Los Angeles, CA 90011-2457


                                                                                       X    Service information continued on attached page

3' SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FAGSIMILE TRANSMISSION OR EMAIL (state method
foreachpersonorentityserved):PursuanttoF.R.Civ.P.5and/orcontrollingLBR,on(date)-,lserved
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                       f]   Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the                         oing is true and correct.

 MAY 13       2019         ELIAS DE DIOS
 Date                          Printed Name                                                     Signature


           This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


rune   2012                                                                                        F 901 3-3.1 .PROOF.SERVICE
                                                                                                                     Exhibit 2, Page 000014
       Case 2:19-bk-14989-WB                 Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                       Desc
                                              Main Document    Page 16 of 26



                                          Continued Service by U.S. Mail List is Below

 Premier Business Bank                                                       Corporation Service Company,
 700 S. Flower Street, #2000                                                 as Representative
 Los Angeles, CA 90017                                                       P.O. Box 2576
                                                                             Springfield,IL 62708

 Corporation S ervice Company,                                               CT Corporation System as Representative
 as Representative                                                           330 N. Brand Blvd., Suite 700
 801 Adlai Stevenson Drive                                                  Attn:    SPRS
 Springfield,lL 62703                                                        Glendale, CA9l203

 Queen Funding LLC                                                          App Group International, LLC
 222lNE 164 ST                                                              85 Broad Street, 17th Floor
Miami Beach, FL 33160                                                       New York, NY 10004

GTR Source LLC                                                              Hop Capital
1006 Monmouth Ave                                                           323 Sunny Isles Blvd., Suite 501
Lakewood, NJ 08701                                                          Sunny Isles Beach, FL 33160

Alissa Guler                                                                AT&T Corp.
c/o Albert G. Stoll, Jr.                                                    c/o CT Corporation
55 Francisco Street, Suite 403                                              818 Seventh Street, Suite 930
San Francisco, CA 94133                                                     Los Angeles, CA 90017

AT&T Corp.                                                                  Avitus,Inc.
c/o CT Corporation                                                          c/o David M.
818 Seventh Street, Suite 930                                               Wagner, Esq.
Los Angeles, CA 90017                                                       Crowley Fleck, PLLP
                                                                            P.O. Box 10969
                                                                            Bozeman, MT 59719

Azad Baban                                                                  Bernardo Parra
c/o Justin                                                                  c/o Mancini Law
Silverman, Esq.                                                             Group, P.C.
Reisner & King LLP                                                          7170 W. Grand Avenue
14724 Ventura Blvd., Suite 1210                                             Elmwood Park, IL 60707
Sherman Oaks, CA91403

Arturo Vega, et. al.                                                        Edvin Amzayan,clo
c/o Eric K. Yaeckel                                                         State of CA Dept. of Industrial Relations
Sullivan Law Group, APC                                                     Labor Commission Office
2330 Third Ave.                                                             455 Golden Gate Ave., 1Oth Floor
San Diego, CA9210l                                                          San Francisco, CA 94102



         This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


rune   2012                                                                                      F 9013-3.1.PROOF.SERVICE
                                                                                                                   Exhibit 2, Page 000015
       Case 2:19-bk-14989-WB                  Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                               Main Document    Page 17 of 26


 Enterprise Holdings,                                                        Hillair Capital
 Inc.                                                                        Management LLC
 600 Corporate Park Drive                                                    330 Primrose Road, Suite 660
 Saint Louis, MO 63105                                                       Burlingame, CA 94010

 Imran Firoz                                                                 Jacob Lee DeGough
 c/o Brent Finch                                                             c/o Glenn Law Firm
 Brent Finch Law                                                             1017 William D. Tate Ave. Suite 100
 27200 Agoura Rd., Ste. 102                                                  Grapevine, TX 76051
 Agoura Hills, CA 91301

 Jassim M. Addal                                                             LeClairRyan
 clo Law Office of Arash Alizadeh                                            44 Montgomery Street, Suite 3100
 7545 Irvine Center Drive Suite 200                                          San Francisco, CA 94104
 Irvine, CA92618

 Maria Salgado                                                               Marwan Griffin
 c/o Nicholas J. Tsakas, Esq.                                                c/o Aegis Law Firm, PC
 4267 Marina City Drive Suite 512                                            9811 Irvine Center Drive Suite 100
 MarinaDel Rey, CA90292                                                      Irvine, CA92618

Minas Sarafian                                                               Mostafa Joharifard
c/o Simonian & Simonian, PLC                                                 l65l E. Edinger Ave. Suite 100
144 N. Glendale Ave.,#228                                                    Santa Ana, CA 92705
Glendale, CA91206

NexGen Capital, LLC                                                         Roy Castelanos
c/o David Neale Levene Neale Bender                                         c/o Employees' Legal Advocates, LLP
10250 Constellation Blvd., #1700                                            811 Wilshire Blvd. Suite 800
Los Angeles, CA 90067                                                       Los Angeles, CA 90017

Avitus,Inc.                                                                 Hillair Capital
c/o David M. Wagner, Esq                                                    Management LLC
Crowley Fleck, PLLP                                                         330 Primrose Road Suite 660
P.O. Box 10969                                                              Burlingame, CA 94010
Bozeman,    MT 59719


Imran Firoz                                                                 Kirk Davis
c/o Brent Finch                                                             clo Law Offices of
Brent Finch Law                                                             Daniel A. Kaplan
27200 Agoura Rd., Ste. 102                                                  555 W. Beech St., Suite 230
Agoura Hills, CA 91301                                                      San Diego,      CA9210l




         This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


rune   2012                                                                                       F 9013-3.1.PROOF.SERVICE
                                                                                                            Exhibit 2, Page 000016
       Case 2:19-bk-14989-WB                 Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                       Desc
                                              Main Document    Page 18 of 26


 Salvador Rivas                                                              Scoobeez SD, LLC
 c/o Law Offices of Daniel A. Kaplan                                         c/o Law Offices of Daniel A. Kaplan
 555 W. Beech St., Suite 230                                                 555 W. Beech St., Suite 230
 San Diego, CA92l0l                                                          San Diego, CA 92101

 Hillair Capital
 Management LLC
 330 Primrose Road Suite 660
 Burlingame, CA 94010




         This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


rune   2012                                                                                      F 9013-3.1 .PROOF.SERVICE
                                                                                                                   Exhibit 2, Page 000017
Case 2:19-bk-14989-WB   Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37       Desc
                         Main Document    Page 19 of 26




                               EXHIBIT 3




                                                                Exhibit 3, Page 000018
         Case 2:19-bk-14989-WB                 Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                Desc
                                                Main Document    Page 20 of 26

     Attomcy Name, Addrcss, Telephonc and   FAX                                             Filc with U.S. TRUSTEE Only

         Ashley M. McDow (245114)
         FOLEY & LARDNER LLP
         555 S. Flower St., 33rd Floor
         Los Angeles, CA 90071
         Telephone:     213.972.4500
         Facsimile:     213.486.0065
         Email:   amcdow@foley.com

                         UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA


     ln re:                                                                                 Chapter     ll   CaseNumber
     Scoobeez, et al.
                                                                                                LEAD CASE NO.: 2:19-bk-14989
                                                                                Debtor(s)


     NOTICE OF SETTING/INCREASING INSIDER COMPENSATION



  l.      Name of Insider:
                                                        fowita Chomentowska

 2. Relationship      to Debtor (i.e. owner, partner,
 officer, director, shareholder).                       Director


 3. Date when relationship with Debtor
 commenced:


 4. Position title:
                                                        Board Member and Staffing Director

 5. Position Description:
                                                        Heads staffing department


 6. Assigned Duties:                                    Operates the company's staffing department which is in charge of recruitment




 7   .   Date employed in current position              September 2015

 8. If previously employed by Debtor within
 past two years in a different position, state          N/A
 position(s) and date(s).

 9. Number of hours worked per week:                    40

  10. Total amount of compensation and payment          $6,000 per month
 interval:




Revised February 2002                             INSIDER COMPENSATION (Page                I   of 2)                              USTLA.I2




                                                                                                                Exhibit 3, Page 000019
      Case 2:19-bk-14989-WB                      Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                              Desc
                                                  Main Document    Page 21 of 26

    I I . Breakdown of compensation (speciff
    amount and payment interval.

                                                  Salary:    $6,000 per   month

                        Perquisites (total, detail below):

                                         Car Allowance:

                                     Medical Insurance:

                                         Life Insurance:

                                    Business Expenses:

                                        Other (Specify)


    12. Identifu the source of the funds to be used          Company's general operating account
    to pay compensations specihed in No. l0:

    13. Date and amount of last increase in                  N/A
    compensation:

     14. Identifr any creditor who asserts a security
    interest (whether or not Debtor disputes the
    validity thereof) in the receipts generated by the
    operation of the Debtor's business and the
    amount of its claim:

     15. Specify all compensation, perquisites,
                                                             $72,000.00
    loans, benefits etc. received by insider from the
    Debtor during the twelve month period
    immediately preceding the fiIing of the Chapter
    1 I Petition (Attach W -2, 1099, Individual

    Payroll Cards and other related forms):

                                         Compensation:       $72,000.00

                                                  Loans:

                                  Perquisites (Speciff):



I   declare under penalty of perjury that the answers contained in the foregoing Notice are true and correct.

                                                          Co-c(F
 Dated:

 A-/o(<,. ( " *Re^'F<v'r(Fc
      z
 Print Name and Title of Authorized Agent for Debtor                              Signature of Authorized Agent for Debtor


        Attach proof of service on Creditors' Committee or the Twenty Largest Creditors if no committee has been
formed, and to any secured creditors that claim an interest in cash collateral.
        If this notice pertains to setting compensation, it must be filed and served fifteen days before any pay out of
compensation, although compensation may be accrued during this period.
        If this notice pertains to an increase in compensation, it must be filed and served thirty days before the date when
the proposed increase takes effect.




Revised Februarv 2002                              INSIDER COMPENSATION (Paee 2 of 2\                                              USTLA.I2




                                                                                                                Exhibit 3, Page 000020
         Case 2:19-bk-14989-WB                  Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                                 Main Document    Page 22 of 26


                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 1B and not a party to this bankruptcy case or adversary proceeding. My business address is
 811 WILSHIRE BLVD., STE 9OO, LOS ANGELES, CA 90017

 A true and correct copy of the foregoing document entitled (specify)'.

 NOTICE OF SETTING / INCREASING INSIDER COMPENSATION (Jowita Chomentowska)

 will be served orwas served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)                             in
 the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
                     I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 the following persons are on the Electronic Mail Notice List to receive NEF transmission at the ernail addresses stated
 below:




                                                                                       fl   Service information continued on aftached page

2. SERVED BY UNITED        STATES MAIL:
 On (dafe) MAY 13, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Hillair Capital Management LLC                                                Anthony J Napolitano
330 Primrose Road Suite 660                                                   Buchalter, A Professional Corporation
Burlingarne, CA 94010                                                         1000 Wilshire Blvd, Ste# 1500
                                                                              Los Angeles, CA 90017-2457


                                                                                       X    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                      (date) , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                       n    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and

 MAY 13       2019         ELIAS DE DIOS
 Date                          Printed Name                                                     Signature


           This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


June   2012                                                                                         F 901 3-3.1.PROOF.SERVICE
                                                                                                                     Exhibit 3, Page 000021
       Case 2:19-bk-14989-WB                  Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                               Main Document    Page 23 of 26



                                           Continued Service by U.S. Mail List is Below

 Premier Business Bank                                                       Corporation Service Company,
 700 S. Flower Street, #2000                                                 as Representative
 Los Angeles, CA 90017                                                       P.O, Box 2576
                                                                             Springfield,IL 62708

 Corporation Service Company,                                                CT Corporation System as Representative
 as Representative                                                           330 N. Brand Blvd., Suite 700
 801 Adlai Stevenson Drive                                                   Attn: SPRS
 Springfield,lL 62703                                                        Glendale, CA91203

 Queen Funding LLC                                                           App Group Internation al, LLC
 2221NE 164 ST                                                               85 Broad Street, lTth Floor
 Miami Beach, FL 33160                                                       New York, NY 10004

 GTR Source LLC                                                              Hop Capital
 1006 Monmouth Ave                                                           323 Sunny Isles Blvd., Suite 501
 Lakewood, NJ 08701                                                          Sunny Isles Beach, FL 33160

Alissa Guler                                                                AT&T Corp.
c/o Albert G. Stoll, Jr.                                                    c/o CT Corporation
55 Francisco Street, Suite 403                                              818 Seventh Street, Suite 930
San Francisco, CA 94133                                                     Los Angeles, CA 90017

AT&T Corp.                                                                  Avitus, Inc.
c/o CT Corporation                                                          c/o David M.
818 Seventh Street, Suite 930                                               Wagner, Esq.
Los Angeles, CA 90017                                                       Crowley Fleck, PLLP
                                                                            P.O. Box 10969
                                                                            Bozeman, MT 59719

 Azad Baban                                                                 Bernardo Parra
c/o Justin                                                                  c/o Mancini Law
Silverman, Esq.                                                             Group, P.C.
Reisner & King LLP                                                          7170 W. Grand Avenue
14724 Ventura Blvd., Suite 1210                                             Elmwood Park,IL 60707
Sherman Oaks, CA 91403

Arturo Vega, et. al.                                                        Edvin Amzayan, clo
c/o Eric K. Yaeckel                                                         State of CA Dept. of Industrial Relations
Sullivan Law Group, APC                                                     Labor Commission Office
2330 Third Ave.                                                             455 Golden Gate Ave., 1Oth Floor
San Diego, CA92101                                                          San Francisco, CA 94102



         This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


June   2012                                                                                       F 9013-3.1.PROOF.SERVICE
                                                                                                                   Exhibit 3, Page 000022
       Case 2:19-bk-14989-WB                     Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                       Desc
                                                  Main Document    Page 24 of 26


  Enterprise Holdings,                                                          Hillair Capital
  Inc.                                                                          Management LLC
  600 Corporate Park Drive                                                      330 Primrose Road, Suite 660
  Saint Louis, MO 63105                                                         Burlingame, CA 94010

 Imran Firoz                                                                    Jacob Lee DeGough
 c/o Brent Finch                                                                c/o Glenn Law Firm
 Brent Finch Law                                                                1017 William D. Tate Ave. Suite 100
 27200 Agoura Rd., Ste. 102                                                     Grapevine, TX 76051
 Agoura Hills, CA 91301

 Jassim M. Addal                                                                LeClairRyan
 cloLaw Office of Arash Alizadeh                                                44 Montgomery Street, Suite 3100
 7545 kvine Center Drive Suite 200                                              San Francisco, CA 94104
 Irvine, CA92618

 Maria Salgado                                                                  Marwan Griffin
 c/o Nicholas J. Tsakas, Esq.                                                   c/o Aegis Law Firm, PC
 4267 Marina City Drive Suite 512                                               9811 Irvine Center Drive Suite 100
 MarinaDel Rey, CA90292                                                         Irvine, CA92618

 Minas Sarafian                                                                 Mostafa Joharifard
 c/o Simonian & Simonian, PLC                                                   1651 E. Edinger Ave. Suite 100
 144 N. Glendale Ave.,#228                                                      Santa Ana, CA 92705
 Glendale, CA9I206

NexGen Capital, LLC                                                             Roy Castelanos
c/o David Neale Levene Neale Bender                                             c/o Employees' Legal Advocates, LLP
10250 Constellation Blvd., #1700                                                811 Wilshire Blvd. Suite 800
Los Angeles, CA 90067                                                           Los Angeles, CA 90017

Avitus,Inc.                                                                    Hillair Capital
c/o David M. Wagner, Esq.                                                      Management LLC
Crowley Fleck, PLLP                                                            330 Primrose Road Suite 660
P.O. Box 10969                                                                 Burlingame, CA 94010
Bozeman, MT 59719



Imran Firoz                                                                    Kirk Davis
c/o Brent Finch                                                                clo Law Offices of
Brent Finch Law                                                                Daniel A. Kaplan
27200 Agoura Rd., Ste. 102                                                     555 W. Beech St., Suite 230
Agoura Hills, CA 91301                                                         San Diego, CA92l0l




            This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 901 3-3.1.PROOF.SERV|CE
                                                                                                                       Exhibit 3, Page 000023
       Case 2:19-bk-14989-WB                  Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                               Main Document    Page 25 of 26


 Salvador Rivas                                                              Scoobeez SD,        LLC
 c/o Law Offices of Daniel A. Kaplan                                         c/o Law Offices of Daniel A. Kaplan
 555 W. Beech St., Suite 230                                                 555 W. Beech St., Suite 230
 San Diego, CA9210l                                                          San Diego, CA92l0l

 Hillair Capital
 Management LLC
 330 Primrose Road Suite 660
 Burlingame, CA 94010




         This form is mandatory. lt has been approved for use by the United States Bankruptcy Court for the Central District of California.


rune   2012                                                                                      F 9013-3.1.PROOF.SERVICE
                                                                                                                   Exhibit 3, Page 000024
         Case 2:19-bk-14989-WB                     Doc 110 Filed 05/28/19 Entered 05/28/19 18:48:37                                      Desc
                                                    Main Document    Page 26 of 26
                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
BUCHALTER, 1000 Wilshire Blvd, Suite 1500, Los Angeles, CA 90017
A true and correct copy of the foregoing document entitled (specify) HILLAIR CAPITAL MANAGEMENT, LLC’S
LIMITED OMNIBUS OPPOSITION TO THE DEBTORS’ NOTICES OF SETTING INSIDER COMPENSATION OF
GEORGE VOSKANIAN, SCOTT SHEIKH AND JOWITA CHOMENTOWSKA will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 28, 2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
    • Alvin Mar alvin.mar@usdoj.gov
    • Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
    • Rejoy Nalkara rejoy.nalkara@americaninfosource.com
    • Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
    • David L. Neale dln@lnbyb.com
    • Gregory M Salvato gsalvato@salvatolawoffices.com,
          calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
    • Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
    • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 28, 2019        , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor
Scoobeez
3463 Foothill Blvd.
Glendale, CA 91214
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 28, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

VIA COURIER
Presiding Judge
Hon. Julia W. Brand
U.S. Bankruptcy Court – Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012


May 28, 2019                    Sandra Alarcon                                                 /s/ Sandra Alarcon
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
